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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                            :
    ADRIAN GUILFORD,                                        :
                                                            :
                           Plaintiff,                       :
                                                            :           CIVIL ACTION
                   v.                                       :
                                                            :           NO. 14-2360
    BANK OF AMERICA, N.A., et al.                           :
                                                            :
                           Defendants.                      :

                                                     ORDER


         AND NOW, this __11th__ day of December, 2015, the Court having been advised that

the parties in the above-captioned matter have resolved the case, IT IS HEREBY ORDERED

AND DECREED that this matter is DISMISSED WITH PREJUDICE, without costs,

pursuant to the agreement of counsel and Local Rule 41.1(b).1

         IT IS FUTHER OREDERED that the Clerk of Court shall mark the above-captioned

matter as CLOSED.



                                                                        BY THE COURT:

                                                                         /s/ Petrese B. Tucker
                                                                        ___________________________
                                                                        Hon. Petrese B. Tucker, C.J.




1
 Local Rule 41.1(b) states that “whenever in any civil action counsel shall notify the Clerk or the judge to whom the
action is assigned that the issues between the parties have been settled, the Clerk shall, upon order of the judge to
whom the case is assigned, enter an order dismissing the action with prejudice, without costs, pursuant to the
agreement of counsel.”
